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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN


ERIKA WOOLEY, on behalf of herself and
all others similarly situated,
                                                     Case No.
                        Plaintiff,
                                                     JURY TRIAL DEMANDED
v.

ACRISURE, LLC,

                        Defendant.


                                 CLASS ACTION COMPLAINT

         Plaintiff, Erika Wooley, on behalf of herself and all others similarly situated, states as

follows for her class action complaint against Defendant, Acrisure LLC., (“Acrisure” or

“Defendant”):

                                       INTRODUCTION

         1.     Between January December 1, 2022, and January 28, 2023, Acrisure, a financial

technology and insurance company headquartered in Grand Rapids, Michigan, control over its

computer network and the highly private information stored on the computer network in a data

breach perpetrated by cybercriminals (“Data Breach”). On information and belief, the Data

Breach’s impact has impacted thousands of consumers.

         2.     Acrisure’s breach differs from typical data breaches because it affects consumers

who had no relationship with Acrisure, never sought one, and never consented to Acrisure’s

collecting and storing their information.

         3.     On information and belief Data Breach first began December 1, 2022, and was

allowed by Defendant to continue until January 28, 2023, providing cybercriminals unfettered

access to consumers’ highly private information for an appalling fifty-eight days.


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       4.      Following an internal investigation, Defendant learned cybercriminals gained

unauthorized access to consumers’ personally identifiable information (“PII”) and private health

information (“PHI”) (collectively with PII, “Sensitive Information”).

       5.      On information and belief, cybercriminals bypassed Defendant’s inadequate

security systems to access consumers’ Sensitive Information in its computer systems.

       6.      On or about November 10, 2023, Acrisure finally notified State Attorneys General

and many Class Members about the widespread Data Breach (“Breach Notice”). However, notice

is ongoing, with Plaintiff not receiving her notice until December 6, 2023. Plaintiff has attached

her Breach Notice as Exhibit A

       7.      Defendant’s Breach Notice obfuscated the nature of the breach and the threat it

posted—refusing to tell its victims how many people were impacted, how the breach happened, or

why it took the Defendant almost a year to begin notifying victims that hackers had gained access

to highly private Sensitive Information.

       8.      Defendant’s failure to timely detect and report the Data Breach made its victims

vulnerable to identity theft without any warnings to monitor their financial accounts or credit

reports to prevent unauthorized use of their Sensitive Information.

       9.      Defendant knew or should have known that each victim of the Data Breach

deserved prompt and efficient notice of the Data Breach and assistance in mitigating the effects of

Sensitive Information misuse.

       10.     In failing to adequately protect consumers’ information, adequately notify them

about the breach, and obfuscating the nature of the breach, Defendant violated state law and

harmed an unknown number of its current and former consumers.

       11.     Plaintiff and members of the proposed Class are victims of Defendant’s negligence




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and inadequate cyber security measures. Specifically, Plaintiff and members of the proposed Class

trusted Defendant with their Sensitive Information. But Defendant betrayed that trust. Defendant

failed to properly use up-to-date security practices to prevent the Data Breach.

       12.     Plaintiff, Erika Wooley, is a Data Breach victim.

       13.     Accordingly, Plaintiff, on her own behalf and on behalf of a class of similarly

situated individuals, brings this lawsuit seeking injunctive relief, damages, and restitution, together

with costs and reasonable attorneys’ fees, the calculation of which will be based on information in

Defendant’s possession.

                                             PARTIES

       14.     Plaintiff, Erika Wooley, is a natural person and citizen of Kansas, residing in

Leavenworth, Kansas, where she intends to remain. Ms. Wooley is a Data Breach victim, receiving

Acrisure’s Breach Notice on December 6, 2023.

       15.     Defendant, Acrisure LLC, is a Michigan limited liability corporation with its

principal place of business at 100 Ottawa Ave SW, Grand Rapids, Michigan 49503. Its sole

member is Acrisure Intermediate, Inc. Acrisure LLC can be served through its registered agent,

CSC-Lawyers Incorporating Service, at 3410 Belle Chase Way, Suite 600, Lansing MI 48911.

       16.     Acrisure Intermediate Inc. is the parent and sole member of Acrisure LLC. Acrisure

Intermediate Inc. is a Delaware corporation.

                                   JURISDICTION & VENUE

       17.     This Court has subject matter jurisdiction over this action under 28 U.S.C.§ 1332(d)

because this is a class action wherein the amount in controversy exceeds the sum or value of

$5,000,000, exclusive of interest and costs; there are more than 100 members in the proposed class;

Plaintiff and Defendant are citizens of different states.

       18.     Acrisure is incorporated in Michigan and maintains its principal place of business


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in 100 Ottawa Ave SW, Grand Rapids, Michigan 49503. Acrisure is thus a Michigan citizen.

        19.      This Court has personal jurisdiction over Acrisure because it is a citizen in this

District and maintains its headquarters and principal place of business in this District.

        20.      Venue is proper because Acrisure maintains its headquarters and principal place of

business in this District.

                                       BACKGROUND FACTS
Acrisure

        21.      According to its website, Acrisure “is global fintech leader [that] provides

customers with intelligence-driven financial services solutions for insurance, reinsurance, cyber

services and more.”1 Acrisure boasts ‘record-breaking growth’, advertising that it “is known for

leading the industry in growth, going from $38 million in revenue to more than $4 billion in just

over ten years”. 2

        22.      Acrisure’s services are specialized, in part, for insurance providers who oversee

highly sensitive data. Acrisure thus must oversee, manage, and protect the Sensitive Information

of its clients’ consumers.

        23.      On information and belief, these third-party consumers, whose Sensitive

Information was collected by Acrisure, do not do any business with Acrisure.

        24.      After collecting its consumers’ Sensitive Information, Acrisure maintains the

Sensitive Information in its computer systems.

        25.      In working with third party consumers’ highly sensitive data, Acrisure advertises

in its privacy policy that “we use reasonable efforts to protect your personal information from

unauthorized access, use, or disclosure” and only “retain information about you […] for as long as


1
 Our Company, Acrisure, https://www.acrisure.com/who-we-are (last visited December 8, 2023).
2
 Acrisure, https://www.acrisure.com/news-and-insights/acrisures-record-breaking-growth-wins-award, (last visited
December 8, 2023).


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        33.      According to the Breach Notice, on December 28, 2022, inadequate “became aware

of some unusual activity on our system.” Following an internal investigation, it discovered that

between December 1, 2022, and January 28, 2023, “an unauthorized third party gained access to a

portion of our computer network that contained a number of files [.]” Ex. A.

        34.      In other words, Defendant’s investigation revealed that its network had been hacked

by cybercriminals and that Defendant’s cyber and data security systems and measures were so

inadequate, that it allowed cybercriminals unfettered access to files containing a treasure trove of

thousands of Acrisure’s consumers’ personal and highly private Sensitive Information for almost

two months.

        35.      Through its inadequate security practices, Defendant exposed Plaintiff’s and the

Class’s Sensitive Information for theft and sale on the dark web.

        36.      As Acrisure acknowledges on its own website, ransomware acters regularly commit

these cyber-attacks in order to encrypt data for ransom, with fallouts from such data breaches being

‘devastating’, resulting in “losses in reputation and consumer confidence[.]” 5 On information and

belief, this Data Breach is no different. Acrisure knew or should have known of the tactics that

these cybercriminals employ.

        37.      Despite its duties and alleged commitments to safeguard Sensitive Information,

Acrisure does not follow industry standard practices in securing consumers’ Sensitive Information,

as evidenced by the Data Breach.

        38.      In response to the Data Breach, Acrisure contends that it has or will be taking steps

to “further secure our systems to protect the personal information and other data stored on them.”

Ex. A. Although Acrisure fails to expand on what these alleged ‘further security’ is, such


5
 You aren’t alone in the Cyber Space, Acrisure, https://www.acrisure.com/news-and-insights/you-arent-alone-in-
cyber-space-viewpoint-for-2023 (last visited December 5, 2023).


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safeguards should have been in place before the Data Breach.

       39.     Through its Breach Notice, Acrisure recognized the actual imminent harm and

injury that flowed from the Data Breach, so it encouraged breach victims to “remain vigilant for

incidents of fraud and identity theft by reviewing your account statements and monitoring free

credit reports.” Ex. A.

       40.     Defendant further recognized through the Breach Notice, its duty to implement

reasonable cybersecurity safeguards or policies to protect their consumers’ Sensitive Information,

insisting that, despite the Data Breach evidencing otherwise, “we take the privacy and security of

the information in our care seriously’” Ex. A.

       41.     On information and belief, Acrisure has offered several months of complimentary

credit monitoring services to victims in an attempt “to relieve concerns and restore confidence

following [the Data Breach]”, Ex. A. However this credit monitoring service does not adequately

address the lifelong harm that victims will face following the Data Breach. Indeed, the breach

involves Sensitive Information that cannot be changed, such as Social Security numbers.

       42.     Even with only several months of credit monitoring, the risk of identity theft and

unauthorized use of Plaintiff’s and Class Members’ Sensitive Information is still substantially

high. The fraudulent activity resulting from the Data Breach may not come to light for years.

       43.     Cybercriminals need not harvest a person’s Social Security number or financial

account information in order to commit identity fraud or misuse Plaintiff’s and the Class’s

Sensitive Information. Cybercriminals can cross-reference the data stolen from the Data Breach

and combine with other sources to create “Fullz” packages, which can then be used to commit

fraudulent account activity on Plaintiff’s and the Class’s financial accounts.

       44.     On information and belief, Acrisure failed to adequately train its IT and data



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security employees on reasonable cybersecurity protocols or implement reasonable security

measures, causing it to lose control over its consumers’ Sensitive Information. Defendant’s

negligence is evidenced by its failure to prevent the Data Breach and stop cybercriminals from

accessing the Sensitive Information.

The Data Breach was a Foreseeable Risk of which Defendant was on Notice.

        45.     Defendant’s data security obligations were particularly important given the

substantial increase in cyberattacks and/or data breaches in the insurance and cybersecurity

industry preceding the date of the breach.

        46.     In light of recent high profile data breaches, Acrisure knew or should have known

that their electronic records and consumers’ Sensitive Information would be targeted by

cybercriminals.

        47.     In 2021, a record 1,862 data breaches occurred, resulting in approximately

293,927,708 sensitive records being exposed, a 68% increase from 2020. 6 The 330 reported

breaches reported in 2021 exposed nearly 30 million sensitive records (28,045,658), compared to

only 306 breaches that exposed nearly 10 million sensitive records (9,700,238) in 2020. 7

        48.     Indeed, as Acrisure acknowledged on its own website, cyberattacks have become

increasingly common for over ten years. Indeed, the FBI warned as early as 2011 that

cybercriminals were “advancing their abilities to attack a system remotely” and “[o]nce a system

is compromised, cyber criminals will use their accesses to obtain PII.” The FBI further warned

that that “the increasing sophistication of cyber criminals will no doubt lead to an escalation in




6
           2021           Data         Breach          Annual       Report,            ITRC,           chrome-
extension://efaidnbmnnnibpcajpcglclefindmkaj/https://www.wsav.com/wp-
content/uploads/sites/75/2022/01/20220124_ITRC-2021-Data-Breach-Report.pdf (last visited May 9, 2023).
7
  Id.


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cybercrime.” 8

        49.      Cyberattacks on companies like Defendant’s have become so notorious that the FBI

and U.S. Secret Service have issued a warning to potential targets, so they are aware of, and

prepared for, a potential attack. As one report explained, “[e]ntities like smaller municipalities and

hospitals are attractive. . . because they often have lesser IT defenses and a high incentive to regain

access to their data quickly.” 9

        50.      Therefore, the increase in such attacks, and attendant risk of future attacks, was

widely known to the public and to anyone in Defendant’s industry, including Acrisure.

Plaintiff’s Experience and Injuries

        51.      Plaintiff received Acrisure’s breach notice on or about December 6, 2023. Plaintiff

is unsure how Acrisure got her Sensitive Information, including but not limited to her name,

address, date of birth, Social Security Number, driver’s license number, financial account number,

health insurance information, as well as her health information.

        52.      But no matter why Acrisure possesses Ms. Wooley’s Sensitive Information, it has

a duty to safeguard her information according to its internal policies and state and federal law.

        53.      Acrisure deprived Ms. Wooley of the earliest opportunity to guard herself against

the Data Breach’s effects by failing to notify her about it for almost a year.

        54.      As a result of its inadequate cybersecurity, Defendant exposed Plaintiff’s Sensitive

Information for theft by cybercriminals and sale on the dark web.

        55.      Plaintiff does not recall ever learning that her Sensitive Information was

compromised in a data breach incident, other than the breach at issue in this case.


8
  Gordon M. Snow Statement, FBI https://archives.fbi.gov/archives/news/testimony/cyber-security-threats-to-the-
financial-sector (last visited May 9, 2023).
9
  Secret Service Warn of Targeted, Law360, https://www.law360.com/articles/1220974/fbi-secret-service-warn-of-
targeted-ransomware (last visited May 9, 2023).


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       56.     As a result of the Data Breach and the recommendation of Defendant’s Notice Ms.

Wooley has spent time dealing with the consequences of the Data Breach, which includes time

spent verifying the legitimacy of the Notice of Data Breach, and self-monitoring her accounts and

credit reports to ensure no fraudulent activity has occurred. This time has been lost forever and

cannot be recaptured.

       57.     Ms. Wooely has and will spend considerable time and effort monitoring her

accounts to protect herself from identity theft. Ms. Wooely fears for her personal financial security

and uncertainty over what Sensitive Information exposed in the Data Breach. Ms. Wooely has and

is experiencing feelings of anxiety, sleep disruption, stress, fear, and frustration because of the

Data Breach. This goes far beyond allegations of mere worry or inconvenience; it is exactly the

sort of injury and harm to a Data Breach victim that the law contemplates and addresses.

       58.     Plaintiff suffered actual injury from the exposure of her Sensitive Information —

which violates her rights to privacy.

       59.     Ms. Wooely has suffered actual injury in the form of damages to and diminution in

the value of her Sensitive Information —a form of intangible property that Plaintiff entrusted to

Defendant, which was compromised in and as a result of the Data Breach.

       60.     Ms. Wooely has suffered imminent and impending injury arising from the

substantially increased risk of fraud, identity theft, and misuse resulting from her Sensitive

Information being placed in the hands of unauthorized third parties and possibly criminals.

       61.     Ms. Wooely has a continuing interest in ensuring that her Sensitive Information,

which, upon information and belief, remains backed up in Defendant’s possession, is protected,

and safeguarded from future breaches.

Plaintiff and the Proposed Class Face Significant Risk of Continued Identity Theft



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        62.    Plaintiff and members of the proposed Class have suffered injury from the misuse

of their Sensitive Information that can be directly traced to Defendant.

        63.    The ramifications of Defendant’s failure to keep Plaintiff’s and the Class’s

Sensitive Information secure are severe. Identity theft occurs when someone uses another’s

personal information such as that person’s name, date of birth, Social Security number, or driver’s

license number, without permission, to commit fraud or other crimes.

        64.    The types of Sensitive Information compromised and potentially stolen in the Data

Breach is highly valuable to identity thieves. The consumers’ stolen Sensitive Information can be

used to gain access to a variety of existing accounts and websites to drain assets, bank accounts or

open phony credit cards.

        65.    Social Security numbers are particularly attractive targets for hackers because they

can easily be used to perpetrate identity theft and other highly profitable types of fraud. Moreover,

Social Security numbers are difficult to replace, as victims are unable to obtain a new number until

the damage is done.

        66.    Identity thieves can also use the stolen data to harm Plaintiff and Class members

through embarrassment, blackmail, or harassment in person or online, or to commit other types of

fraud including obtaining ID cards or driver’s licenses, fraudulently obtaining tax returns and

refunds, and obtaining government benefits. A Presidential Report on identity theft from 2008

states that:

               In addition to the losses that result when identity thieves
               fraudulently open accounts or misuse existing accounts, . . .
               individual victims often suffer indirect financial costs, including
               the costs incurred in both civil litigation initiated by creditors and
               in overcoming the many obstacles they face in obtaining or
               retaining credit. Victims of non-financial identity theft, for
               example, health- related or criminal record fraud, face other types
               of harm and frustration.


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               In addition to out-of-pocket expenses that can reach thousands of
               dollars for the victims of new account identity theft, and the
               emotional toll identity theft can take, some victims have to spend
               what can be a considerable amount of time to repair the damage
               caused by the identity thieves. Victims of new account identity
               theft, for example, must correct fraudulent information in their
               credit reports and monitor their reports for future inaccuracies,
               close existing bank accounts and open new ones, and dispute
               charges with individual creditors.

       67.     As a result of Defendant’s failure to prevent the Data Breach, Plaintiff and the

proposed Class have suffered and will continue to suffer damages, including monetary losses, lost

time, anxiety, and emotional distress. They have suffered or are at an increased risk of suffering:

               a. The loss of the opportunity to control how their Sensitive Information is used;

               b. The diminution in value of the Sensitive Information;

               c. The compromise and continuing publication of their Sensitive Information;

               d. Out-of-pocket costs associated with the prevention, detection, recovery, and

                   remediation from identity theft or fraud;

               e. Lost opportunity costs and lost wages associated with the time and effort

                   expended addressing and attempting to mitigate the actual and future

                   consequences of the Data Breach, including, but not limited to, efforts spent

                   researching how to prevent, detect, contest, and recover from identity theft and

                   fraud;

               f. Delay in receipt of tax refund monies;

               g. Unauthorized use of stolen Sensitive Information; and

               h. The continued risk to their Sensitive Information, which remains in the

                   possession of Defendant and is subject to further breaches so long as Defendant




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                   fails to undertake the appropriate measures to protect the Sensitive Information

                   in their possession.

       68.     Stolen Sensitive Information is one of the most valuable commodities on the

criminal information black market. According to Experian, a credit-monitoring service, stolen PII

alone can be worth up to $1,000.00 depending on the type of information obtained.

       69.     The value of Plaintiff’s and the proposed Class’s Sensitive Information on the black

market is considerable. Stolen Sensitive Information trades on the black market for years, and

criminals frequently post stolen Sensitive Information openly and directly on various “dark web”

internet websites, making the information publicly available, for a substantial fee of course.

       70.     It can take victims years to spot identity or Sensitive Information theft, giving

criminals plenty of time to use that information for cash.

       71.     One such example of criminals using Sensitive Information for profit is the

development of “Fullz” packages.

       72.     Cyber-criminals can cross-reference two sources of Sensitive Information to marry

unregulated data available elsewhere to criminally stolen data with an astonishingly complete

scope and degree of accuracy in order to assemble complete dossiers on individuals. These dossiers

are known as “Fullz” packages.

       73.     The development of “Fullz” packages means that stolen Sensitive Information from

the Data Breach can easily be used to link and identify it to Plaintiff and the proposed Class’s

phone numbers, email addresses, and other unregulated sources and identifiers. In other words,

even if certain information such as emails, phone numbers, or credit card numbers may not be

included in the Sensitive Information stolen by the cyber-criminals in the Data Breach, criminals

can easily create a Fullz package and sell it at a higher price to unscrupulous operators and



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criminals (such as illegal and scam telemarketers) over and over. That is exactly what is happening

to Plaintiff and the Class, and it is reasonable for any trier of fact, including this Court or a jury, to

find that Plaintiff and other members of the proposed Class’s stolen Sensitive Information is being

misused, and that such misuse is fairly traceable to the Data Breach.

        74.     Defendant disclosed the Sensitive Information of Plaintiff and the proposed Class

for criminals to use in the conduct of criminal activity. Specifically, Defendant opened up,

disclosed, and exposed the Sensitive Information of Plaintiff and the Class to people engaged in

disruptive and unlawful business practices and tactics, including online account hacking,

unauthorized use of financial accounts, and fraudulent attempts to open unauthorized financial

accounts (i.e., identity fraud), all using the stolen Sensitive Information.

        75.     Defendant’s use of outdated and insecure computer systems and software that are

easy to hack, and its failure to maintain adequate security measures and an up-to-date technology

security strategy, as evidenced by its complete failure to prevent malware in its systems,

demonstrates a willful and conscious disregard for privacy, and has exposed Sensitive Information

of Plaintiff and members of the proposed Class to unscrupulous operators, con-artists, and

criminals.

        76.     Defendant’s failure to properly notify Plaintiff and members of the proposed Class

of the Data Breach exacerbated Plaintiff’s and the Class’s injury by depriving them of the earliest

ability to take appropriate measures to protect their Sensitive Information and take other necessary

steps to mitigate the harm caused by the Data Breach.

Defendant failed to adhere to FTC guidelines.

        77.     According to the Federal Trade Commission (“FTC”), the need for data security

should be factored into all business decision-making. To that end, the FTC has issued numerous



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guidelines identifying best data security practices that businesses, such as Defendant, should

employ to protect against the unlawful exposure of Sensitive Information.

       78.     In 2016, the FTC updated its publication, Protecting Personal Information: A Guide

for Business, which established guidelines for fundamental data security principles and practices

for business. The guidelines explain that businesses should:

               a.      protect the sensitive consumer information that they keep;

               b.      properly dispose of private information that is no longer needed;

               c.      encrypt information stored on computer networks;

               d.      understand their network’s vulnerabilities; and

               e.      implement policies to correct security problems.

       79.     The guidelines also recommend that businesses watch for large amounts of data

being transmitted from the system and have a response plan ready in the event of a breach.

       80.     The FTC recommends that companies not maintain information longer than is

needed for authorization of a transaction; limit access to sensitive data; require complex passwords

to be used on networks; use industry-tested methods for security; monitor for suspicious activity

on the network; and verify that third-party service providers have implemented reasonable security

measures.

       81.     The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect consumer data, treating the failure to employ reasonable and

appropriate measures to protect against unauthorized access to confidential consumer data as an

unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act (“FTCA”), 15

U.S.C. § 45. Orders resulting from these actions further clarify the measures businesses must take

to meet their data security obligations.



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         82.      Defendant’s failure to employ reasonable and appropriate measures to protect

against unauthorized access to consumers’ Sensitive Information constitutes an unfair act or

practice prohibited by Section 5 of the FTCA, 15 U.S.C. § 45.

Defendant Violated HIPAA

         83.      HIPAA circumscribes security provisions and data privacy responsibilities

designed to keep patients, or in this case, consumers’ medical information safe. HIPAA

compliance provisions, commonly known as the Administrative Simplification Rules, establish

national standards for electronic transactions and code sets to maintain the privacy and security of

protected health information.10

         84.      HIPAA provides specific privacy rules that require comprehensive administrative,

physical, and technical safeguards to ensure the confidentiality, integrity, and security of Sensitive

Information is properly maintained.11

         85.      The Data Breach itself resulted from a combination of inadequacies showing

Defendant’s failure to comply with safeguards mandated by HIPAA. Defendant’s security failures

include, but are not limited to:

               a. Failing to ensure the confidentiality and integrity of electronic PHI that it

                  creates, receives, maintains and transmits in violation of 45 C.F.R. §

                  164.306(a)(1);

               b. Failing to protect against any reasonably-anticipated threats or hazards to the

                  security or integrity of electronic PHI in violation of 45 C.F.R. § 164.306(a)(2);




10
    HIPAA lists 18 types of information that qualify as PHI according to guidance from the Department of Health and
Human Services Office for Civil Rights, and includes, inter alia: names, addresses, any dates including dates of birth,
Social Security numbers, and medical record numbers.
11
   See 45 C.F.R. § 164.306 (security standards and general rules); 45 C.F.R. § 164.308 (administrative safeguards); 45
C.F.R. § 164.310 (physical safeguards); 45 C.F.R. § 164.312 (technical safeguards).


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        c. Failing to protect against any reasonably anticipated uses or disclosures of

           electronic PHI that are not permitted under the privacy rules regarding

           individually identifiable health information in violation of 45 C.F.R. §

           164.306(a)(3);

        d. Failing to ensure compliance with HIPAA security standards by Defendant in

           violation of 45 C.F.R. § 164.306(a)(4);

        e. Failing to implement technical policies and procedures for electronic

           information systems that maintain electronic PHI to allow access only to those

           persons or software programs that have been granted access rights in violation

           of 45 C.F.R. § 164.312(a)(1);

        f. Failing to implement policies and procedures to prevent, detect, contain and

           correct security violations in violation of 45 C.F.R. § 164.308(a)(1);

        g. Failing to identify and respond to suspected or known security incidents and

           failing to mitigate, to the extent practicable, harmful effects of security incidents

           that are known to the covered entity in violation of 45 C.F.R. §

           164.308(a)(6)(ii);

        h. Failing to effectively train all staff members on the policies and procedures with

           respect to PHI as necessary and appropriate for staff members to carry out their

           functions and to maintain security of PHI in violation of 45 C.F.R. § 164.530(b)

           and 45 C.F.R. § 164.308(a)(5); and

        i. Failing to design, implement, and enforce policies and procedures establishing

           physical and administrative safeguards to reasonably safeguard PHI, in

           compliance with 45 C.F.R. § 164.530(c).




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       86.        Simply put, the Data Breach resulted from a combination of insufficiencies that

demonstrate Defendant failed to comply with safeguards mandated by HIPAA regulations.

Defendant Fails to Comply with Industry Standards

       87.        As noted above, experts studying cyber security routinely identify entities in

possession of Sensitive Information as being particularly vulnerable to cyberattacks because of the

value of the Sensitive Information which they collect and maintain.

       88.        Several best practices have been identified that a minimum should be implemented

by companies in possession of Sensitive Information, like Defendant, including but not limited to:

educating all employees; strong passwords; multi-layer security, including firewalls, anti-virus,

and anti-malware software; encryption, making data unreadable without a key; multi-factor

authentication; backup data and limiting which employees can access sensitive data. Defendant

failed to follow these industry best practices, including a failure to implement multi-factor

authentication.

       89.        Other best cybersecurity practices that are standard for companies like Defendant

include installing appropriate malware detection software; monitoring and limiting the network

ports; protecting web browsers and email management systems; setting up network systems such

as firewalls, switches and routers; monitoring and protection of physical security systems;

protection against any possible communication system; training staff regarding critical points.

Defendant failed to follow these cybersecurity best practices, including failure to train staff.

       90.        Defendant failed to meet the minimum standards of any of the following

frameworks: the NIST Cybersecurity Framework Version 1.1 (including without limitation

PR.AC-1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7, PR.AT-1, PR.DS-1, PR.DS-5,

PR.PT-1, PR.PT-3, DE.CM-1, DE.CM-4, DE.CM-7, DE.CM-8, and RS.CO-2), and the Center for




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Internet Security’s Critical Security Controls (CIS CSC), which are all established standards in

reasonable cybersecurity readiness.

          91.    These foregoing frameworks are existing and applicable industry standards for a

company’s obligations to provide adequate data security for its consumers. Upon information and

belief, Defendant failed to comply with at least one––or all––of these accepted standards, thereby

opening the door to the threat actor and causing the Data Breach.

                               CLASS ACTION ALLEGATIONS

          92.    Plaintiff brings this action pursuant to Rule 23(b)(2), 23(b)(3), and 23(c)(4) of the

Federal Rules of Civil Procedure.

          93.    Plaintiff sues on behalf of herself and the proposed Class (“Class”), defined as

follows:

          All individuals in the United States whose Sensitive Information was accessed without
          authorization in the Data Breach, including all those who received a notice of the Data
          Breach.

          94.    Excluded from the Class are Defendant, its agents, affiliates, parents, subsidiaries,

any entity in which Defendant has a controlling interest, any Defendant officer or director, any

successor or assign, and any Judge who adjudicates this case, including their staff and immediate

family.

          95.    Plaintiff reserves the right to amend the class definition.

          96.    This action satisfies the numerosity, commonality, typicality, and adequacy

requirements for suing as representative parties:

          97.    Numerosity. Plaintiff is representative of the proposed Class, consisting of

thousands members, far too many to join in a single action;

          98.    Ascertainability. Class members are readily identifiable from information in

Defendant’s possession, custody, and control;


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       99.     Typicality. Plaintiff’s claims are typical of Class member’s claims as each arises

from the same Data Breach, the same alleged violations by Defendant, and the same unreasonable

manner of notifying individuals about the Data Breach.

       100.    Adequacy. Plaintiff will fairly and adequately protect the proposed Class’s

interests. Their interests do not conflict with Class members’ interests, and they have retained

counsel experienced in complex class action litigation and data privacy to prosecute this action on

the Class’s behalf, including as lead counsel.

       101.    Commonality. Plaintiff’s and the Class’s claims raise predominantly common fact

and legal questions that a class wide proceeding can answer for all Class members. Indeed, it will

be necessary to answer the following questions:

               a. Whether Defendant had a duty to use reasonable care in safeguarding Plaintiff’s

                   and the Class’s Sensitive Information;

               b. Whether Defendant failed to implement and maintain reasonable security

                   procedures and practices appropriate to the nature and scope of the information

                   compromised in the Data Breach;

               c. Whether Defendant was negligent in maintaining, protecting, and securing

                   Sensitive Information;

               d. Whether Defendant breached contract promises to safeguard Plaintiff and the

                   Class’s Sensitive Information;

               e. Whether Defendant took reasonable measures to determine the extent of the

                   Data Breach after discovering it;

               f. Whether Defendant’s Breach Notice was reasonable;

               g. Whether the Data Breach caused Plaintiff’s and the Class’ injuries;




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               h. What the proper damages measure is; and

               i. Whether Plaintiff and the Class are entitled to damages, treble damages, or

                   injunctive relief.

       102.    Further, common questions of law and fact predominate over any individualized

questions, and a class action is superior to individual litigation or any other available method to

fairly and efficiently adjudicate the controversy. The damages available to individual plaintiffs are

insufficient to make individual lawsuits economically feasible.

                                          COUNT I
                                           Negligence
                              (On Behalf of Plaintiff and the Class)

       103.    Plaintiff incorporates by reference all other paragraphs as if fully set forth herein.

       104.    Plaintiff and members of the Class entrusted their Sensitive Information to

Acrisure. Defendant owed a duty to Plaintiff and the Class to exercise reasonable care in

safeguarding and protecting their Sensitive Information and keeping it from being compromised,

lost, stolen, misused, and or/disclosed to unauthorized parties. This duty included, among other

things, designing, maintaining, and testing Defendant’s security systems to ensure the Sensitive

Information of Plaintiff and the Class was adequately secured and protected, including using

encryption technologies. Defendant further had a duty to implement processes that would detect a

breach of its security system in a timely manner.

       105.    Acrisure was under a basic duty to act with reasonable care when it undertook to

collect, create, and store Plaintiff’s and the Class’s Sensitive Information on its computer system,

fully aware–as any reasonable entity of its size would be–of the prevalence of data breaches and

the resulting harm such a breach would cause. The recognition of Defendant’s duty to act

reasonably in this context is consistent with, inter alia, the Restatement (Second) of Torts § 302B




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(1965), which recounts a basic principle: an act or omission may be negligent if the actor realizes

or should realize it involves an unreasonable risk of harm to another, even if the harm occurs

through the criminal acts of a third party.

       106.    Defendant knew that the Sensitive Information of Plaintiff and the Class was

information that is valuable to identity thieves and other criminals. Defendant also knew of the

serious harms that could happen if the Sensitive Information of Plaintiff and the Class was

wrongfully disclosed.

       107.    By being entrusted by Plaintiff and the Class to safeguard their Sensitive

Information, Defendant had a special relationship with Plaintiff and the Class. Plaintiff’s and the

Class’s Sensitive Information was provided to Acrisure with the understanding that Defendant

would take appropriate measures to protect it and would inform Plaintiff and the Class of any

security concerns that might call for action by Plaintiff and the Class.

       108.    Defendant breached its duty to exercise reasonable care in safeguarding and

protecting Plaintiff’s and the Class members’ Sensitive Information by failing to adopt, implement,

and maintain adequate security measures to safeguard that information, despite failures and

intrusions, and allowing unauthorized access to Plaintiff’s and the Class’s Sensitive Information.

       109.    But for Defendant’s wrongful and negligent breach of its duties owed to Plaintiff

and the Class, their Sensitive Information would not have been compromised, stolen, and viewed

by unauthorized persons. Defendant’s negligence was a direct and legal cause of the theft of the

Sensitive Information of Plaintiff and the Class and all resulting damages.

       110.    The injury and harm suffered by Plaintiff and the Class members was the

reasonably foreseeable result of Defendant’s failure to exercise reasonable care in safeguarding

and protecting Plaintiff’s and the Class members’ Sensitive Information.




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       111.    As a result of Defendant’s failure, the Sensitive Information of Plaintiff and the

Class were compromised, placing them at a greater risk of identity theft and subjecting them to

identity theft, and their Sensitive Information was disclosed to third parties without their consent.

Plaintiff and Class members also suffered diminution in value of their Sensitive Information in

that it is now easily available to hackers on the Dark Web. Plaintiff and the Class have also suffered

consequential out of pocket losses for procuring credit freeze or protection services, identity theft

monitoring, and other expenses relating to identity theft losses or protective measures.

                                         COUNT II
                                     Negligence Per Se
                             (On Behalf of Plaintiff and the Class)

       112.    Plaintiff incorporates by reference all other paragraphs as if fully set forth herein.

       113.    Pursuant to the FTC Act, 15 U.S.C. § 45, Defendant had a duty to provide fair and

adequate computer systems and data security practices to safeguard Plaintiff’s and the Class’s

Sensitive Information.

       114.    Section 5 of the FTC Act prohibits “unfair . . . practices in or affecting commerce,”

including, as interpreted and enforced by the FTC, the unfair act or practice by businesses, such as

Defendant, of failing to use reasonable measures to protect customer information. The FTC

publications and orders promulgated pursuant to the FTC Act also form part of the basis of

Defendant’s duty to protect Plaintiff and the members of the Class’s Sensitive Information.

       115.    Defendant breached its respective duties to Plaintiff and Class Members under the

FTC Act by failing to provide fair, reasonable, or adequate computer systems and data security

practices to safeguard Sensitive Information.

       116.    Defendant’s duty of care to use reasonable security measures arose as a result of

the special relationship that existed between Defendant and its consumers, which is recognized by




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laws and regulations including but not limited to HIPAA, as well as common law. Defendant were

in a position to ensure that its systems were sufficient to protect against the foreseeable risk of

harm to Class Members from a Data Breach.

           117.   Defendant’s duty to use reasonable security measures under HIPAA required

Defendant to “reasonably protect” confidential data from “any intentional or unintentional use or

disclosure” and to “have in place appropriate administrative, technical, and physical safeguards to

protect the privacy of protected health information.” 45 C.F.R. § 164.530(c)(l). Some or all of the

healthcare and/or medical information at issue in this case constitutes “protected health

information” within the meaning of HIPAA.

           118.   Defendant’s duty to use reasonable care in protecting confidential data arose not

only as a result of the statutes and regulations described above, but also because Defendant is

bound by industry standards to protect confidential Sensitive Information.

           119.   Defendant violated its duty under Section 5 of the FTC Act by failing to use

reasonable measures to protect Plaintiff’s and the Class’s Sensitive Information and not complying

with applicable industry standards as described in detail herein. Defendant’s conduct was

particularly unreasonable given the nature and amount of Sensitive Information Defendant had

collected and stored and the foreseeable consequences of a data breach, including, specifically, the

immense damages that would result to individuals in the event of a breach, which ultimately came

to pass.

           120.   The harm that has occurred is the type of harm the FTC Act is intended to guard

against. Indeed, the FTC has pursued numerous enforcement actions against businesses that,

because of their failure to employ reasonable data security measures and avoid unfair and deceptive

practices, caused the same harm as that suffered by Plaintiff and the Class.




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       121.    Defendant violated its duty under HIPAA by failing to use reasonable measures to

protect its PHI and by not complying with applicable regulations detailed supra. Here too,

Defendant’s conduct was particularly unreasonable given the nature and amount of Sensitive

Information that Defendant collected and stored and the foreseeable consequences of a data breach,

including, specifically, the immense damages that would result to individuals in the event of a

breach, which ultimately came to pass.

       122.    But for Defendant’s wrongful and negligent breach of its duties owed to Plaintiff

and members of the Class, Plaintiff and members of the Class would not have been injured.

       123.    The injury and harm suffered by Plaintiff and members of the Class were the

reasonably foreseeable result of Defendant’s breach of its duties. Defendant knew or should have

known that Defendant was failing to meet its duties and that its breach would cause Plaintiff and

members of the Class to suffer the foreseeable harms associated with the exposure of their

Sensitive Information.

       124.    Had Plaintiff and the Class known that Defendant did not adequately protect their

Sensitive Information, Plaintiff and members of the Class would not have entrusted Defendant

with their Sensitive Information.

       125.    Defendant’s various violations and its failure to comply with applicable laws and

regulations constitutes negligence per se.

       126.    As a direct and proximate result of Defendant’s negligence per se, Plaintiff and the

Class have suffered harm, including loss of time and money resolving fraudulent charges; loss of

time and money obtaining protections against future identity theft; lost control over the value of

Sensitive Information; harm resulting from damaged credit scores and information; and other harm

resulting from the unauthorized use or threat of unauthorized use of stolen Sensitive Information,




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entitling them to damages in an amount to be proven at trial.

       127.     Additionally, as a direct and proximate result of Defendant’s negligence per se,

Plaintiff and Class members have suffered and will suffer the continued risks of exposure of their

Sensitive Information, which remain in Defendant’s possession and is subject to further

unauthorized disclosures so long as Precision Imaging fails to undertake appropriate and adequate

measures to protect their Sensitive Information in its continued possession.

                                          COUNT III
                                     Invasion of Privacy
                              (On Behalf of Plaintiff and the Class)

       128.     Plaintiff and members of the Class incorporate the above allegations as if fully set

forth herein.

       129.     Plaintiff and the Class had a legitimate expectation of privacy regarding their highly

confidential Sensitive Information and were accordingly entitled to the protection of this

information against disclosure to unauthorized third parties.

       130.     Defendant owed a duty to its consumers, including Plaintiff and the Class, to keep

this information confidential.

       131.     The unauthorized acquisition (i.e., theft) by a third party of Plaintiff and Class

members’ Sensitive Information is highly offensive to a reasonable person.

       132.     The intrusion was into a place or thing which was private and entitled to be private.

Plaintiff and the Class disclosed their sensitive and confidential information to Defendant, but did

so privately, with the intention that their information would be kept confidential and protected

from unauthorized disclosure. Plaintiff and the Class were reasonable in their belief that such

information would be kept private and would not be disclosed without their authorization.

       133.     The Data Breach constitutes an intentional interference with Plaintiff and the




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Class’s interest in solitude or seclusion, either as to their person or as to their private affairs or

concerns, of a kind that would be highly offensive to a reasonable person.

           134.   Defendant acted with a knowing state of mind when it permitted the Data Breach

because it knew its information security practices were inadequate.

           135.   Defendant acted with a knowing state of mind when it failed to notify Plaintiff and

the Class in a timely fashion about the Data Breach, thereby materially impairing their mitigation

efforts.

           136.   Acting with knowledge, Defendant had notice and knew that its inadequate

cybersecurity practices would cause injury to Plaintiff and the Class.

           137.   As a proximate result of Defendant’s acts and omissions, the Sensitive Information

of Plaintiff and the Class were stolen by a third party and is now available for disclosure and

redisclosure without authorization, causing Plaintiff and the Class to suffer damages (as detailed

supra).

           138.   Unless and until enjoined and restrained by order of this Court, Defendant’s

wrongful conduct will continue to cause great and irreparable injury to Plaintiff and the Class since

their Sensitive Information are still maintained by Defendant with their inadequate cybersecurity

system and policies.

           139.   Plaintiff and the Class have no adequate remedy at law for the injuries relating to

Defendant’s continued possession of their sensitive and confidential records. A judgment for

monetary damages will not end Defendant’s inability to safeguard the Sensitive Information of

Plaintiff and the Class.

           140.   In addition to injunctive relief, Plaintiff, on behalf of herself and the other Class

members, also seeks compensatory damages for Defendant’s invasion of privacy, which includes




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the value of the privacy interest invaded by Defendant, the costs of future monitoring of their credit

history for identity theft and fraud, plus prejudgment interest and costs.

                                          COUNT IV
                                     Breach of Contract
                              (On Behalf of Plaintiff and the Class)

       141.    Plaintiff incorporates by reference all other paragraphs as if fully set forth herein.

       142.    Acrisure entered into various contracts with its clients to provide financial service

solutions including insurance and cyber services to its clients.

       143.    These contracts are virtually identical to each other and were made expressly for

the benefit of Plaintiff and the Class, as it was their confidential medical information that Acrisure

agreed to collect and protect through its services. Thus, the benefit of collection and protection of

the Sensitive Information belonging to Plaintiff and the Class were the direct and primary objective

of the contracting parties.

       144.    Acrisure knew that if it were to breach these contracts with its clients, the clients’

consumers, including Plaintiff and the Class, would be harmed by, among other things, fraudulent

misuse of their Sensitive Information.

       145.    Acrisure breached its contracts with its clients when it failed to use reasonable data

security measures that could have prevented the Data Breach and resulting compromise of

Plaintiff’s and Class Members’ Sensitive Information.

       146.    As reasonably foreseeable result of the breach, Plaintiff and the Class were harmed

by Acrisure’s failure to use reasonable data security measures to store their Sensitive Information,

including but not limited to, the actual harm through the loss of their Sensitive Information to

cybercriminals.

       147.    Accordingly, Plaintiff and the Class are entitled to damages in an amount to be




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determined at trial, along with their costs and attorney fees incurred in this action.

                                           COUNT V
                                     Unjust Enrichment
                              (On Behalf of Plaintiff and the Class)

        148.    Plaintiff incorporates by reference all other paragraphs as if fully set forth herein.

        149.    This claim is pleaded in the alternative to the breach of contract claim.

        150.    Plaintiff and Class Members conferred a monetary benefit on Defendant when

Defendant’s clients provided Plaintiff’s and Class Members’ Sensitive Information to Defendant,

which Defendant collected.

        151.    Defendant enriched itself by saving the costs it reasonably should have expended

on data security measures to secure Plaintiff’s and Class Members’ Sensitive Information.

        152.    Instead of providing a reasonable level of security that would have prevented the

Data Breach, Defendant calculated to avoid its data security obligations at the expense of Plaintiff

and Class Members by utilizing cheaper, ineffective security measures. Plaintiff and the Class, on

the other hand, suffered as a direct and proximate result of Defendant’s failure to provide the

requisite security.

        153.    Under the principles of equity and good conscience, Defendant should not be

permitted to retain the monetary value of the benefit belonging to Plaintiff and Class Members,

because Defendant failed to implement appropriate data management and security measures that

are mandated by industry standards.

        154.    Defendant acquired the monetary benefit and Sensitive Information through

inequitable means in that they failed to disclose the inadequate security practices previously

alleged.

        155.    If Plaintiff and Class Members knew that Defendant had not secured Sensitive

Information, they would not have agreed to have their Sensitive Information provided to


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Defendant.

        156.   Plaintiff and Class Members have no adequate remedy at law.

        157.   As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have suffered and will suffer injury, including, but not limited to: (i) the loss of the

opportunity how their Sensitive Information is used; (ii) the compromise, publication, and/or theft

of their Sensitive Information; (iii) out-of-pocket expenses associated with the prevention,

detection, and recovery from identity theft, and/or unauthorized use of their Sensitive Information;

(iv) lost opportunity costs associated with effort expended and the loss of productivity addressing

and attempting to mitigate the actual and future consequences of the Data Breach, including but

not limited to efforts spent researching how to prevent, detect, contest, and recover from identity

theft; (v) the continued risk to their Sensitive Information, which remains in Defendant’s

possession and is subject to further unauthorized disclosures so long as Defendant fails to

undertake appropriate and adequate measures to protect the Sensitive Information in their

continued possession and (vi) future costs in terms of time, effort, and money that will be expended

to prevent, detect, contest, and repair the impact of the Sensitive Information compromised as a

result of the Data Breach for the remainder of the lives of Plaintiff and Class Members.

        158.   As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have suffered and will continue to suffer other forms of injury and/or harm.

        159.   Defendant should be compelled to disgorge into a common fund or constructive

trust, for the benefit of Plaintiff and Class Members, proceeds that they unjustly received from

them.

                                    PRAYER FOR RELIEF




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       Plaintiff and members of the Class demand a jury trial on all claims so triable and request

that the Court enter an order:

               A. Certifying this case as a class action on behalf of Plaintiff and the proposed

                   Class, appointing Plaintiff as class representative, and appointing their counsel

                   to represent the Class;

               B. Awarding declaratory and other equitable relief as is necessary to protect the

                   interests of Plaintiff and the Class;

               C. Awarding injunctive relief as is necessary to protect the interests of Plaintiff

                   and the Class;

               D. Enjoining Defendant from further deceptive practices and making untrue

                   statements about the Data Breach and the stolen Sensitive Information;

               E. Awarding Plaintiff and the Class damages that include applicable

                   compensatory, exemplary, punitive damages, and statutory damages, as

                   allowed by law;

               F. Awarding restitution and damages to Plaintiff and the Class in an amount to be

                   determined at trial;

               G. Awarding attorneys’ fees and costs, as allowed by law;

               H. Awarding prejudgment and post-judgment interest, as provided by law;

               I. Granting Plaintiff and the Class leave to amend this complaint to conform to

                   the evidence produced at trial; and

               J. Granting such other or further relief as may be appropriate under the

                   circumstances.




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                                      JURY DEMAND

      Plaintiff hereby demand that this matter be tried before a jury.

Dated: December 11, 2023                     Respectfully submitted,

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